              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                           TINA JEAN YOUNG,

                                Appellant,

                                    v.

                          STATE OF FLORIDA,

                                 Appellee.


                            No. 2D2023-0579



                             August 23, 2024

Appeal from the Circuit Court for Sarasota County; Rochelle T. Curley,
Judge.

Howard L. Dimmig, II, Public Defender, and Stephania A. Valantasis,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Sonia C. Lawson,
Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

     Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior publication.
